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 1    Susan D. Fahringer, Bar No. 21567                           Gabriella Gallego, Bar No. 324226
      SFahringer@perkinscoie.com                                  GGallego@perkinscoie.com
 2    Nicola C. Menaldo, pro hac vice                             PERKINS COIE LLP
 3    NMenaldo@perkinscoie.com                                    3150 Porter Drive
      Anna M. Thompson, pro hac vice                              Palo Alto, CA 94304-1212
 4    AnnaThompson@perkinscoie.com                                Telephone: 650.838.4300
      PERKINS COIE LLP                                            Facsimile: 650.838.4350
 5    1201 Third Avenue, Suite 4900
      Seattle, WA 98101-3099
 6    Telephone: 206.359.8000
 7    Facsimile: 206.359.9000

 8    Attorneys for Defendant
      Thomson Reuters Corporation
 9

10                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13

14   CAT BROOKS and RASHEED                           Case No. 3:21-cv-01418-EMC
     SHABAZZ, individually and on behalf of
15   all others similarly situated,                   STIPULATION TO EXTEND TIME FOR
                                                      DEFENDANT TO RESPOND TO
16                         Plaintiffs,                COMPLAINT PURSUANT TO LOCAL
                                                      RULE 6-1((a)
17           v.
                                                      Current Response Date: August 30, 2021
18   THOMSON REUTERS CORPORATION,
                                                      New Response Date:        September 10, 2021
19                         Defendant.
20

21
             Pursuant to Federal Rule of Civil Procedure 6(b) and Civil Local Rule 6-1(a), Defendant
22
     Thomson Reuters Corporation (“Thomson Reuters”) and Plaintiffs Cat Brooks and Rasheed
23

24   Shabazz (“Plaintiffs”), by and through their respective counsel, hereby stipulate as follows:

25           WHEREAS, the deadline to answer or otherwise respond to the Complaint is August 30,
26   2021;
27

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     Case No. 3:21-cv-01418-EMC                                                   Stipulation to Extend Time
                                                                                    to Respond to Complaint
       Case 3:21-cv-01418-EMC Document 57 Filed 08/24/21 Page 2 of 3



 1          WHEREAS, Thomson Reuters has requested, and Plaintiffs have consented to, an
 2   additional 10 days for Thomson Reuters to answer the Complaint;
 3
             WHEREAS, good cause exists for the agreed extension due to the complexity of the facts
 4
     alleged in Plaintiffs’ Complaint;
 5
            WHEREAS, the requested extension will not affect any of the other dates set in the case;
 6

 7          NOW, THEREFORE IT IS HEREBY STIPULATED by and between the parties, through

 8   their respective counsel, that Thomson Reuters shall answer or otherwise respond to the

 9   Complaint by September 10, 2021.
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     Case No. 3:21-cv-01418-EMC                     -2-                        Stipulation to Extend Time
                                                                                 to Respond to Complaint
       Case 3:21-cv-01418-EMC Document 57 Filed 08/24/21 Page 3 of 3



 1
     DATED: August 23, 2021                                   PERKINS COIE LLP
 2

 3                                                            By: /s/ Susan D. Fahringer
                                                                  Susan D. Fahringer, Bar No. 21567
 4                                                                SFahringer@perkinscoie.com
 5                                                            Attorneys for Defendant
                                                              Thomson Reuters Corporation
 6

 7

 8   DATED: August 23, 2021
                                                              By: /s/ Andre M. Mura________________
 9
                                                                  Andre M. Mura, Bar No. 298541
10                                                                amm@classlawgroup.com
11

12       Eric H. Gibbs                                          Jennifer D. Bennett
         Andre M. Mura                                          Neil K. Sawhney
13
         Amanda M. Karl                                         GUPTA WESSLER PLLC
14       Jeffrey B. Kosbie                                      100 Pine Street, Suite 1250
         GIBBS LAW GROUP                                        San Francisco, CA 94111
15       505 14th Street, Suite 1110                            (415) 573-0336
         Oakland, CA 94612                                      jennifer@guptawessler.com
16       Telephone: (510) 350-9700                              neil@guptawessler.com
         Fax: (510) 350-9701
17
         ehg@classlawgroup.com                                  Attorneys for Plaintiffs
18       amm@classlawgroup.com
         amk@classlawgroup.com
19       jbk@classlawgroup.com
20       Attorneys for Plaintiffs
21       Benjamin Elga (pro hac vice)              Albert Fox Cahn (pro hac vice)
         Alice Buttrick (pro hac vice)        ISTRISURVEILLANCE        TECHNOLOGY
22       JUSTICE CATALYST LAW INC.       TES D      CT
                                                   OVERSIGHT      PROJECT
                                        A               C
         123 William Street, 16th floorT           40 Rector Street, 9th Floor
23
                                                                      O
                                       S




         New York, NY 10038                        New York, NY 10006
                                                                       U
                                      ED




                                                                        RT




24       (518) 732-6703                            albert@stopspying.org
                                                VED
                                  UNIT




         belga@justicecatalyst.org        APPRO
25       abuttrick@justicecatalyst.org             Attorneys for Plaintiffs
                                                                               R NIA




26       Attorneys for Plaintiffs                                    hen
                                                           rd M. C
                                  NO




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                                                Judge E
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     Case No. 3:21-cv-01418-EMC                     D I S T -3- OF                         Stipulation to Extend Time
                                                           RICT                              to Respond to Complaint
